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                       IN THE UNITED STATES DISTRICT COURT

                          FOR THE DISTRICT OF NEW MEXICO
                                 ____________________

UNITED STATES OF AMERICA,

       Plaintiff,

v.                                                         Case No. 1:18-cr-02945-WJ

JANY LEVEILLE et al.,

       Defendants.


                                    ORDER LIFTING STAY
       THIS MATTER is before the Court sua sponte. On February 18, 2020, the Court entered

a sealed Order staying proceedings pending completion of competency evaluations. (Doc. 192).

The Court held a status conference on October 12, 2022, advising the parties that all competency

evaluations have been completed. The Court requested concurrence or opposition to lifting the

stay and no party opposed lifting the stay.

       IT IS ORDERED that the STAY entered by the Court on February 18, 2020 is LIFTED.

Pending motions seeking a status conference and lifting of the stay (Doc. 416, Doc. 448) are

deemed mooted by this Order and are terminated.




                                              ________________________________________
                                              CHIEF UNITED STATES DISTRICT JUDGE
